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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     RAUL URIARTE-LIMON,                 CV 20-5989 DSF (JPR)
         Plaintiff,

                     v.                  JUDGMENT

     HAGHNAZARZADEH, LLC, et
     al.,
          Defendants.



          The Court having granted Plaintiff Raul Uriarte-Limon’s
    Application for Default Judgment against Defendant Haghnazarzadeh,
    LLC,

         IT IS ORDERED AND ADJUDGED that Uriarte-Limon is
    awarded $4,000 in statutory damages and $88.25 in costs, for a total
    amount of $4,088.25.

         Additionally, Haghnazarzadeh is ordered to provide an accessible
    parking spot, sales counter, and bathroom at Spa Nails located at 1034
    North Hacienda Boulevard, La Puente, California, 91744, in
    compliance with the Americans with Disabilities Act Accessibility
    Standards.



     Date: January 12, 2021             ___________________________
                                        Dale S. Fischer
                                        United States District Judge
